               Case 5:25-cr-00349            Document 3   Filed on 02/05/25 in TXSD   Page 1 of 3
                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                                                                                           February 05, 2025
                                                                                           Nathan Ochsner, Clerk




I find probable cause that the defendant(s)
committed an offense against the laws of the
United States and may be therefore further
detained pending presentment before a judicial
officer.

February 5, 2025, 01:00 PM, at Laredo, Texas.
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